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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

BOY SCOUTS OF AMERICA,                                       §
     Plaintiff,                                              §
                                                             §
v.                                                           §
                                                             §    CIVIL ACTION NO. 3:15-CV-02420-B
NATIONAL UNION FIRE INSURANCE                                §
COMPANY OF PITTSBURGH, Pa.,                                  §
     Defendant.                                              §

                 BRIEF IN SUPPORT OF NATIONAL UNION’S MOTION FOR PARTIAL
                 DISMISSAL UNDER FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1)

TO THE HONORABLE COURT:

        Defendant National Union Fire Insurance Company of Pittsburgh, Pa. (“National Union”)

files this Brief in Support of its Motion for Partial Dismissal Under Federal Rule of Civil

Procedure 12(b)(1) as follows:

                                                        I.
                                   INTRODUCTION AND BACKGROUND

        Plaintiff Boy Scouts of America (“BSA”) filed this declaratory judgment action pursuant

to the Declaratory Judgment Act, 28 U.S.C. §2101, et seq., seeking, in part, a judgment declaring

that National Union is obligated to pay future defense costs and indemnity payments for certain

unspecified, unfiled “Potential Future Lawsuits.” 1 (Dkt. #1, ¶¶19-20, 25-26). This Motion to

Dismiss concerns only the part of BSA’s declaratory judgment claim seeking a declaration with

respect to these “Potential Future Lawsuits.” 2 Specifically, with respect to these “Potential

Future Lawsuits,” BSA alleges that it “believes it may in the future be named as a defendant in

1
         BSA’s Original Complaints also asserts a Breach of Contract claim, which is not relevant to the merits of
this motion and is therefore not addressed.
2
         BSA’s declaratory judgment claim also seeks a declaration with respect to National Union’s duties
regarding allegedly existing “Underlying Lawsuits.”

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lawsuits by individuals alleging bodily injury that occurred at various times between January 1,

1975 and January 1, 1979.” (Dkt. #1, ¶19). BSA asserts that “[i]f named in Potential Future

Lawsuits, BSA will incur defense costs and may also incur the costs of settlements and/or

judgments.” (Dkt. #1, ¶20) (emphasis added). BSA further alleges that “National Union may in

the future fail to honor and dispute its coverage obligations to BSA under the National Union

Policies to pay defense costs or to satisfy the amount of any settlements made or judgments

entered in Potential Future Lawsuits.” (Dkt. #1, ¶25) (emphasis added).            Based on these

allegations, BSA asserts that an “actual and justiciable controversy exists between BSA and

National Union regarding the rights and obligations of BSA and National Union” under certain

“National Union Polices.” (Dkt. #1, ¶26).

        The portion of BSA’s declaratory judgment claim concerning “Potential Future

Lawsuits” is neither ripe nor justiciable because adjudication of National Union’s potential

defense and indemnity obligations requires the existence of a claim or filed lawsuit. Without a

claim or suit, the Court has no basis to adjudicate these potential duties and would have no

option but to issue a premature, advisory opinion speculating about National Union’s potential

duties based on future, undefined claims, allegations and events that may never be asserted or

take place. Accordingly, this Court should dismiss under Rule 12(b)(1) that portion of BSA’s

declaratory judgment claim seeking a declaration regarding “Potential Future Lawsuits” because

that claim is not ripe for adjudication, thus depriving this Court of subject matter jurisdiction to

adjudicate it.




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                                                II.
                                 ARGUMENT AND AUTHORITIES

        A.     BSA’s Declaratory Judgment Claim Seeking a Declaration Regarding
               “Potential Future Lawsuits” Should be Dismissed Under Rule 12(b)(1)
               Because That Claim Is Not Ripe.

               1.      Federal Rule of Civil Procedure 12(b)(1).

        A motion to dismiss for lack of subject matter jurisdiction under Rule 12(b)(1) asserts

that the Court lacks the authority to hear the dispute. See Fed. R. Civ. P. 12(b)(1); see also In re

FEMA Trailer Formaldehyde Prods. Liab. Litig. (Miss. Plaintiffs), 668 F.3d 281, 286 (5th Cir.

[La.] 2012) (“Under Rule 12(b)(1), a claim is properly dismissed for lack of subject matter

jurisdiction when the court lacks the statutory or constitutional power to adjudicate the claim.”).

        “Federal courts are courts of limited jurisdiction [and] possess only that power authorized

by Constitution and statute,...which is not to be expanded by judicial decree.” Kokkonen v.

Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994) (citations omitted); see also Am. Const.

Benefits Grp., LLC v. Zurich Am. Ins. Co., No. 3:12-CV-2726-D, 2014 WL 144974, at *2 (N.D.

Tex. Jan. 15, 2014) (Fitzwater, C.J.) (first assessing on a Rule 12(b)(1) motion whether the

plaintiff had “standing under Article III to seek a declaratory judgment”).

        “The burden of proof for a Rule 12(b)(1) motion to dismiss is on the party asserting

jurisdiction.” Ramming v. United States, 281 F.3d 158, 161 (5th Cir. [Tex.] 2001). A Rule

12(b)(1) motion can mount either a facial or factual challenge. See Hunter v. Branch Banking &

Trust Co., No. 3:12-CV-2437-D, 2013 WL 607151, at *2 (N.D. Tex. Feb. 19, 2013) (Fitzwater,

C.J.) (citing Paterson v. Weinberger, 644 F.2d 521, 523 (5th Cir. [Tex.] 1981). When a party

files a Rule 12(b)(1) motion without including evidence, the challenge to subject matter

jurisdiction is facial. See American Const. Benefits Group, LLC, 2014 WL 144974 at *1.


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        Notably, a “court assesses a facial challenge as it does a Rule 12(b)(6) motion in that it

‘looks only at the sufficiency of the allegations in the pleading and assumes them to be true.’” Id.

(citing Hunter, 2013 WL 607151 at *2); see also Williams v. Wynne, 533 F.3d 360, 365 n. 2 (5th

Cir. [La.] 2008) (stating that the standard for reviewing a motion to dismiss for lack of subject

matter jurisdiction pursuant to Rule 12(b)(1) is similar to that applicable to motions to dismiss

under Rule 12(b)(6)). To survive a motion to dismiss under Rule 12(b)(6), a plaintiff must plead

“enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly,

550 U.S. 544, 570 (2007). “A claim has facial plausibility when the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “The plausibility standard is

not akin to a ‘probability requirement,’ but it asks for more than a sheer possibility that a

defendant has acted unlawfully.” Id. (quoting Twombly, 550 U.S. at 556); see also Twombly, 550

U.S. at 555 (“Factual allegations must be enough to raise a right to relief above the speculative

level [.]”).

               2.      The Declaratory Judgment Standard and the Ripeness Requirement.

        The Declaratory Judgment Act allows a federal court, in the case of an “actual

controversy within its jurisdiction,” to “declare the rights and other legal relations of any

interested party.” 28 U.S.C. §2201(a). To meet the case-or-controversy requirement of Article

III, a declaratory judgment dispute must “be definite and concrete, touching the legal relations of

parties having adverse legal interests; and…be real and substantial and admit of specific relief

through a decree of a conclusive character, as distinguished from an opinion advising what the

law would be upon a hypothetical set of facts.” MedImmune, Inc. v. Genetech, Inc., 549 U.S.

118, 127 (2007) (citations and internal punctuation omitted).

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        “As with all cases, one part of the case-or-controversy requirement is that declaratory

judgment actions be ripe for adjudication.” Triyar Companies, LLC v. Lexington Ins. Co., No.

3:12-CV-294, 2013 WL 3280033, at *2 (S.D. Tex. June 27, 2013); see also First Mercury Ins.

Co. v. Horizon Roofing, Inc., No. 3:12-CV-03393-O, 2013 WL 1481988, at *1 (N.D. Tex. Apr.

9, 2013) (“A declaratory judgment action is ripe for adjudication only if an actual controversy

exists.”) (citation omitted). “Ripeness is a justiciability doctrine designed to prevent the courts,

through avoidance of premature adjudication, from entangling themselves in abstract

disagreements.” National Park Hospitality Ass’n v. Dep’t of Interior, 538 U.S. 803, 807 (2003).

        Importantly, “[b]ecause ripeness is a component of subject matter jurisdiction, a court

does not have the power to decide claims that are not yet ripe.” Avalon Residential Care Homes,

Inc. v. City of Dallas, No. 3:11-cv-1239-D, 2011 WL 4359940, at *5 (N.D. Tex. Sept. 19, 2011)

(citation omitted).

               3.      BSA’s Declaratory Judgment Claim Seeking Adjudication With Respect to
                       “Potential Future Lawsuits” Is Not Ripe Because National Union’s
                       Alleged Duties Are Dependent Upon the Existence of a Claim or Filed
                       Action.

        BSA’s declaratory judgment claim seeks, in part, a “judicial declaration…to determine

BSA’s rights and National Union’s duties regarding…Potential Future Lawsuits, [and]

particularly…National Union’s obligation to pay future defense costs and indemnity payments

for Potential Future Lawsuits that implicate one or more of the National Union Policies.” (Dkt.

#1, ¶26).   This portion of BSA’s declaratory judgment claim is not ripe because National

Union’s alleged duties depend upon the existence of a claim or filed action and this portion of

BSA’s declaratory judgment claim only implicates unfiled, “[p]otential” lawsuits that do not

currently exist and may never exist. See, e.g., American Const. Benefits Group, LLC, 2014 WL


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144974 at *1-4 (dismissing declaratory judgment claim seeking adjudication of insurer’s duties

with respect to unfiled suit on ripeness grounds because without a filed suit it was not possible

for the court to evaluate the insurer’s potential defense and indemnity duties); In re Jillian

Morrison, LLC, 482 Fed.Appx. 872 (5th Cir. [La.] 2012) (affirming district court’s dismissal of

declaratory judgment action seeking declaration of additional insured coverage for lack of

ripeness because no complaint had yet been filed against the putative additional insured); Union

Ins. Co. v. Soleil Group, Inc., 465 F.Supp.2d 567 (D. S.C. 2006) (dismissing insurer’s

declaratory judgment claim seeking a declaration concerning its duties with respect to certain

potential claims against its insured as unripe because no suit had yet been filed).

            Indeed, without a claim or filed complaint, this Court would be forced to entangle itself

in an abstract disagreement and render a premature adjudication based on sheer speculation

about what the allegations in any “potential”, “future” complaint or claim could consist of.

          Under Texas law, courts apply the “eight corners” rule to determine an insurer’s defense

obligations. GuideOne Elite Ins. Co. v. Fielder Rd. Baptist Church, 197 S.W.3d 305, 308 (Tex.

2006).

                  Under the eight-corners rule, two documents determine an insurer’s duty to
                  defend—the insurance policy and the third-party plaintiff’s pleadings in the
                  underlying litigation. If the underlying pleadings allege facts that may fall within
                  the scope of coverage, the insurer has a duty to defend; if the pleading only
                  alleges facts excluded by the policy, there is no duty to defend.

ACE Am. Ins. Co. v. Freeport Welding & Fabricating, Inc., 699 F.3d 832, 840 (5th Cir. [Tex.]

2012) (citation, alterations, and internal quotation marks omitted). “Because the only two

documents relevant to the duty-to-defend inquiry are the insurance policy and the petition, an

insurer’s duty to defend can be determined at the moment the petition is filed.” Id. (emphasis

added).

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        Accordingly, because no filed complaints exist with respect to “Potential Future

Lawsuits,” and because BSA has not alleged the existence of any claims or suits implicating

“Potential Future Lawsuits,” this Court cannot determine National Union’s potential defense

obligations because without a claim or filed complaint there is nothing upon which the Court can

predicate its judgment. Without a claim or filed complaint, an adjudication of National Union’s

potential defense obligations would constitute nothing more than an advisory opinion based on

speculation about possible future events—the exact sort of improper, premature adjudication the

ripeness doctrine was designed to prevent. Thus, BSA’s request for a declaration of National

Union’s defense obligations regarding “Potential Future Lawsuits” is not ripe for adjudication

and should be dismissed.

        Similarly, without a filed lawsuit, this Court also has no means of adjudicating National

Union’s potential indemnity obligations. Under Texas law, “[a] suit for indemnity does not arise

until some liability is established and made fixed and certain. This does not occur until judgment

is rendered or until the lawsuit is settled.” In re State Line Fireworks, Inc., 387 S.W.3d 27, 32

(Tex. App. – Texarkana 2012, no pet.) (quoting Ingersoll–Rand Co. v. Valero Energy Corp., 997

S.W.2d 203, 208 (Tex. 1999)) (citation and internal quotation marks omitted). Once liability has

been established, the “duty to indemnify is determined based on the facts actually established in

the underlying suit.” Burlington N. & Santa Fe Ry. Co. v. National Union Fire Ins. Co. of

Pittsburgh, Pa., 334 S.W.3d 217, 219 (Tex. 2011) (citation omitted).

        Texas does, however, recognize that an insurer can obtain a declaration regarding the

duty to indemnify “when the insurer has no duty to defend and the same reasons that negate the

duty to defend likewise negate any possibility the insurer will ever have a duty to indemnify.”

Farmers Tex. Cnty. Mut. Ins. Co. v. Griffin, 955 S.W.2d 81, 84 (Tex. 1997) (emphasis omitted);

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see also Nat’l Am. Ins. Co. v. Breaux, 368 F.Supp.2d 604, 620 (E.D. Tex. 2005) (“[I]t is now

settled in Texas that a justiciable controversy exists such that an insurer’s duty to indemnify an

insured may be determined before a judgment is obtained in the underlying lawsuit.”). However,

this exception is inapplicable here and, in any event, is predicated on the existence of a filed

lawsuit, which does not exist with respect “Potential Future Lawsuits.”      Indeed, absent a filed

complaint, there is no claim, and absent a claim, there is nothing to indemnify. Thus, BSA’s

request for a declaration regarding National Union’s indemnity obligations with respect to

“Potential Future Lawsuits” is not ripe for adjudication and should be dismissed.

                                                III.
                                           CONCLUSION

        Consequently, based on the foregoing, that portion of BSA’s declaratory judgment claim

seeking a declaration regarding “Potential Future Lawsuits” should be dismissed under Rule

12(b)(1) for lack of subject matter jurisdiction as an unripe claim.

        WHEREFORE, National Union respectfully requests that the Court dismiss that portion

of BSA’s declaratory judgment claim seeking a declaration with respect to “Potential Future

Lawsuits,” and to grant all such other and further relief to which National Union may be justly

entitled.




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                                             Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       The undersigned certifies that on August 26, 2015, a true and correct copy of the foregoing
document was served through the CM/ECF Filing System to defendant’s counsel of record, R.
Brent Cooper and Lauren Tow, COOPER & SCULLY, P.C., 900 Jackson Street, Suite 100, Dallas,
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                                             s/Ellen Van Meir
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